Estate of Oliver Johnson, Deceased, Alla J. Ross, Executrix, Petitioner, v. Commissioner of Internal Revenue, RespondentJohnson v. CommissionerDocket No. 9596United States Tax Court10 T.C. 680; 1948 U.S. Tax Ct. LEXIS 211; April 23, 1948, Promulgated *211 Decision will be entered under Rule 50.  Held, under the facts, certain transfers of property made by decedent were not in contemplation of death.  Joseph Donald Brady, Esq., and Lucien W. Shaw, Esq., for the petitioner.Earl C. Crouter, Esq., for the respondent.  Kern, Judge.  Yan Fossan, Murdock, and Arnold, JJ., concur only in the result.  Turner, J., dissents.  KERN *680  The Commissioner determined a deficiency of $ 44,765.91 in estate tax liability.  The value of the gross estate was determined in part by including the value of property transferred by the decedent during his lifetime.  The sole issue for decision is whether such property was transferred in contemplation of death within the meaning of section 811 (c) of the Internal Revenue Code.  Other*212  adjustments made by *681  respondent are not here in issue.  The parties have stipulated that certain costs and expenses incurred by the decedent's estate may be allowed as deductions in computations to be made pursuant to Rule 50.FINDINGS OF FACT.The parties have filed a stipulation of facts which is incorporated herein by reference.The decedent, Oliver Johnson, died March 8, 1943, at the age of 94 years, a resident of Long Beach, California.  He was survived by 5 children: C. Elmer Johnson, Alla J. Ross, Bertha J. Landreth, T. Leman Johnson, and Bula J. Simms.  The children ranged between the ages of 50 and 68 at the date of decedent's death.  The executrix of the estate is Alla J. Ross.  The estate tax return was filed with the collector of internal revenue for the sixth district of California.The decedent was born in Iowa on November 4, 1848.  He was one of nine children, four of whom were alive in 1939.  In 1878 he became a resident of Belleville, Kansas.  In 1905 he moved to Courtland, Kansas, where he remained until 1918.  During decedent's residence in Kansas he was primarily a farmer.  He acquired 9 tracts of farm lands between 1883 and 1916, containing a total of*213  1,487 1/2 acres in Republic County, Kansas.  Two of these tracts were improved with a house and barns; 2 others with a house each.  Sometime prior to 1918 the decedent placed the active farming of these properties with tenants.  He also made loans on notes and mortgages. For a short time before the first World War he owned a controlling interest in a small bank in Courtland, Kansas.In 1918 the decedent and his wife decided to leave Kansas in order to escape the cold weather and move to California, where they had wanted to live and where they could be out of doors more often.  Pursuant to their decision, they sold all of their household effects and set out for California by way of Wenatchee, Washington, where one or more of their children lived. They spent the winter in Washington and moved to Long Beach, California, in 1919.The decedent arrived in Long Beach, California, shortly prior to his seventy-first birthday.  He considered himself a retired farmer, but he retained an active interest in his farm properties.  He returned to Kansas virtually every year during four or five months in the summer and fall of each year until 1939.  During these months he inspected his farms, transacted*214  business, and visited friends.  In 1920 the decedent bought a house in Long Beach for himself and his wife.  He acquired one other house in 1921 and in 1925 purchased a two-story office building in Corona, California, in which his daughter Bula and her husband operated a drug store.In 1927 the decedent's wife died.  The decedent purchased crypts for himself and his wife in the Sunnyside Mausoleum of Long Beach.  *682  The decedent then lived with his son Elmer for approximately one year.  Thereafter he lived alone in rented rooms during the winters until 1937.  In that year he purchased the Oliver Apartments in Long Beach, where he kept an apartment for himself until he moved to the home of his daughter Alla in August of 1940.Prior to 1932 the decedent made a number of loans, usually at 6 per cent interest and secured by trust deeds and mortgages on real estate in California.  These loans were made through the Golden State Bond &amp; Mortgage Co.  In 1932 the Golden State Bond &amp; Mortgage Co. became financially embarrassed.  Between 1932 and 1934 the decedent acquired the outright ownership of 21 or more small rental properties because of defaults on the loans he had made.  In each*215  case the decedent paid something for the equity and received deeds from the owners.  In each case the title to these properties was encumbered by local tax and other municipal liens.Between 1934 and 1939 the decedent owned a total of 28 or more properties in Southern California, some of which were occupied by more than one tenant.  Rent collections, repairs, and clearing of the titles required the work of 2 men.  The decedent, who was 85 years of age in 1933, worked from 9 in the morning until 4:30 or 5 o'clock at night, 4 and 5 days a week.  In 1933 the decedent hired his son Elmer as a full time employee at a salary of $ 350 a month.  This salary was raised to $ 400 a month for the first 6 months in 1939.  Elmer furnished transportation, acted as bookkeeper, and filled out the decedent's tax returns for the years 1930 to 1939, inclusive.  The decedent had not owned an automobile since 1918 and had never filled out his own tax return.  The decedent kept some accounts in a pocket notebook and retained his bank statements.  When the decedent returned to Kansas each year the management of the Long Beach properties was carried on by Elmer.  Bula J. Simms and her husband collected the*216  rents on the Corona property.  Elmer and Bula were authorized to and did make deposits on behalf of the decedent in bank accounts he maintained in Long Beach and Corona, respectively.Prior to 1939, the decedent had stated several times that he did not like small rental properties. He had so stated when a real estate broker attempted to interest him in such properties.  In 1933 he told his daughter Bula that he was going to have to take active management of such properties, due to the failure of the mortgage company.  He stated that he never liked the management and intended to give the properties to his children as soon as he could clear up the titles.  He told the same thing to his son Leman in 1935, saying that when the titles were clear he was going to make a division of those properties for his children so that he could see them enjoy the properties while he was still alive.  He was desirous of making an equal division and one *683  that would satisfy the children.  He had told Elmer of his intentions about the property division on several occasions.The last encumbrance was cleared away in late 1938.  A few days prior to March 3, 1939, the decedent told his daughter Bertha*217  and her husband, who were then visiting in Long Beach, that he had a surprise which he thought would make all the children happy.  The decedent had itemized gifts of his real property for all the children, saying that he had always intended making the gifts but had never before had them in the proper shape, free and clear of encumbrances.  He stated that he wanted the children to look over these properties in order to make a division that would satisfy all of them.  The three of them then drove to Corona to tell his daughter Bula.The next morning the decedent stated that he wanted the children to know why he was making the gifts of his real property. He said that he did not want them to think that he was not going to live very long because he expected to live a long time.  He stated that he did not think he wanted to go back to Kansas again and that he did not want to be bothered with the rental properties. He said that he would keep his notes and mortgages and would therefore never have to go to his children for care.  Thereafter the party returned to Long Beach and made a tour of the Long Beach properties with his son Elmer.  A short time later an attorney was given a description*218  of the properties and told to draw up the deeds, which the decedent signed on March 3, 1939.  Two of the decedent's children were not present in Long Beach when the gifts were made.The gifts consisted of all the decedent's real properties.  At the date of the gifts the decedent owned 9 Kansas farms, and each of the children received at least one tract.  The Corona property was given in equal, undivided shares to Bertha and Bula.  The latter took title jointly with her husband.  The remaining 21 properties which the decedent had acquired between 1932 and 1934, in addition to 6 properties which he had purchased outright, all located in Long Beach, were divided among all of the children.  There was an oral condition to the gift. Extensive repairs and alterations had been undertaken on the Corona property.  The parties orally agreed that all the rentals from the Long Beach properties would be applied on the cost of the Corona repairs until July 1, 1939.  This was done.  Thereafter the decedent took no part in the management of any of the real property.The decedent had valued all his real property at $ 175,000 and divided it so that each child received property valued at $ 35,000.  *219  Three children requested that title be given to them jointly with their respective spouses.  As a result, the decedent claimed exclusions of $ 32,000 and an exemption of $ 40,000 on his gift tax return filed on January 30, 1940.  The tax paid amounted to $ 7,582.50.  As the result of *684  an audit by the Bureau of Internal Revenue the total valuation of the gifts was increased to $ 203,900, and an additional tax of $ 3,684.75 was later paid.  The agreed value of the property at the date of decedent's death in 1943 was $ 255,950.At the date of the gift the decedent retained notes and obligations executed by 17 parties, ranging in amounts between $ 49.10 and $ 21,000, which had an aggregate value of $ 43,255.21.  All of these obligations paid 6 per cent interest with the exception of one or two of the smaller ones.  The decedent also retained $ 6,178.64 in cash, of which $ 3,806.62 was in a savings bank in Los Angeles and the balance was in banks in Corona and Long Beach.  The total property retained had an actual value of $ 49,433.53 at the date of the gift.The decedent's age at the date of the gift on March 3, 1939, was 90 years and 4 months.  He lived moderately and inexpensively. *220  He lived in single rooms and ate at small restaurants.  He bought ready-made clothes, and liked bright-colored neckties.  He had no expensive pastime or hobby. He had stated that he knew how to make money, but had never learned to spend it.  In April of 1939 his daughter Alla moved into the Oliver Apartments which the decedent had given her on March 3, 1939.  The decedent, who had lived there since 1937, began taking his meals from her.  He paid her $ 25 a month for his room and $ 75 for meals and transportation.  This latter amount was raised to $ 100 a month in 1941.  The expenses of the decedent were not in excess of approximately $ 150 a month.  The decedent reported in his income tax returns the following net income:1936$ 4,894.2919378,869.0219385,458.0619395,718.131940$ 2,337.9019412,047.4819421,664.79The decedent was independent of his family.  He did not like to have his affairs handled by lawyers.  He pursued his own hobbies. He liked to walk, ran his own errands, and regularly covered on foot the 9 blocks from his room to church alone.  On one occasion in 1940 he walked some 70 blocks, accompanied by his daughter, in order to go to the bank, *221  visit friends, and have dinner in downtown Long Beach.  He walked as fast as anyone.  He was erect and had a young man's carriage.The decedent also liked to travel.  Each year from 1928 to 1939 he traveled alone to Kansas for the purpose of overseeing his farms, and to many other states in order to visit friends and relatives.  During these visits he was in the habit of corresponding with various members of his family.  Numerous letters of decedent were introduced in evidence and are incorporated herein by reference.  Their tone is cheerful, alert, and businesslike.  The following is a typical example:*685  Courtland, Kansas, August 6, 1938Mr. &amp; Mrs. Grant and BulaCorona, Calif.Your good letter came to hand this day and I am pleased to hear the news.  I will try to answer this time.  Yes, I have been busy and over the river part of the time.  But I will be done next week.  The rains kept people out of the fields so much and we couldn't help that, see?  All done but Orin Reid and Dan Rickle and he will finish next week.  I hope he will finish my 60 acres.  He will put my share with his and sell it for oatmeal and get a better price in that way.  The wheat was not worth much*222  this year, the corn over there is sure fine, plenty roasting now.  But I fear corn will be cheap, only 40 cts. now.  I sold the old corn for that price except one load I sold part at 50 cts.  I am pleased that you went to Church and glad that Brother Gordon can go to Church. I am pleased with the tone of your letter, so much news to hear.  I would be pleased to hear often, then I could answer often Try it once.As ever,Oliver JohnsonCousin Till Warner is very sick, had two strokes.  No hope for her.O. J.The decedent liked to call on his children unexpectedly and some of his visits were as early as 7 o'clock in the morning.  He occasionally took the bus to Corona, California, to visit his daughter Bula.  In the fall of 1939 the decedent made a 2-day trip by automobile to Boulder Dam and Death Valley, a distance of 800 miles, with members of his family.  In 1940 the decedent returned to Long Beach with a son-in-law after a visit in Washington.  On one occasion the party motored approximately 700 miles in one day and spent the next 2 days walking through the San Francisco Fair before they returned to Long Beach.  On the occasion of the 700-mile drive decedent sat in the back seat*223  and urged his son-in-law to drive faster.  The decedent suffered no effects from these trips.The decedent was proud of his vigor and physical appearance.  He weighed approximately 145 pounds.  At one time in 1938, in order to demonstrate his agility, he jumped into the air and clicked his heels together 2 or 3 times before descending to the floor.  In getting up from a chair at all times pertinent hereto he would stand up straight without touching the arms of the chair.  He regarded himself as younger than other old men not yet his age and would comment with ridicule upon their elderly appearance.  He frequently stated that he expected to live to be a hundred years old.  He appeared 12 to 15 years younger than he actually was and regarded himself as a younger man.  He had a full head of hair, which was iron gray.  He was cheerful by nature and kept himself busy.  The decedent was mentally alert and knew his business affairs.He was active in church affairs.  He was a member of the Church of Christ, which he attended regularly three times a week.  In addition to visiting, walking, and church-going, he pursued the hobbies of horseshoe pitching and woodworking.  He had an expert's skill*224  in *686  horseshoe pitching, making a large percentage of ringers.  The woodworking was usually done in the decedent's rooms.  He constructed such items as cupboards and footstools.On or about June 5, 1939, the decedent wrote, dated, and executed in his own hand his last will:Long Beach, California, June 5th, 1939.I, Oliver Johnson, a widower, hereby made [sic] my last will.  I revoke all wills by me heretofore mad [sic].  I give all my property both real and personaly [sic], all bonds, stocks, and mortgages of which I die possessed to my five children named.  C. Elmer Johnson, Alla J. Ross, Bertha J. Landreth, Leman Johnson, and Bula J. Simms.  I appoint my daughter, Alla J. Ross, as Executrix of this will without bond, without help of lawyer or attorney and without order of court or judge.It is my will that the above named, who are all my own childrin [sic] come together by themselves, after my death and divide it eagrable [sic] between them.  Each child must settle his account with the estate so that it will be equal.  I declare this is entirely written [sic] dated and signed by own hand.In 1934 the decedent had a mild case of pneumonia, for which*225  a doctor's services were required.  The services of a nurse were not required.  Between 1927 and 1939 the decedent occasionally visited doctors for mild complaints in the nature of colds, stomach aches, and light-headedness.  The decedent did not use glasses and did not use a hearing aid, although his hearing was impaired.  In 1938 or 1939 the decedent visited Dr. Bradford, a chiropractor, complaining of a stomach ache and light-headedness.  The decedent told Dr. Bradford that he had been to a doctor who told him that he had high blood pressure.  The chiropractor found a constriction around the decedent's stomach and liver which he attributed to dietary habits.  After 12 to 15 treatments for a month or 6 weeks, the condition was corrected.  The chiropractor had the opinion that nothing was organically wrong with the decedent. He found the patient to be remarkably preserved, mentally alert, and very spry.On four occasions, August 23 and September 23, in 1940, and January 22 and 26 of 1941, the decedent was visited by Dr. Hoover, a medical practitioner, of Long Beach.  On each of these occasions the decedent complained of pains in the abdomen.  The doctor was of the opinion that the*226  pains were the result of poor circulation, which in turn was traceable to auricular fibrillation.  Auricular fibrillation is a condition which is caused by a deterioration or aging of the heart and is manifest through an irregular beating of the auricles of the heart.  The damage to the heart develops gradually over a long period of time, but the noticeable irregularity appears without warning.  The irregularity has the effect of impairing the efficiency of the circulation.  By administering digitalis the heart action is slowed and the heart operates more efficiently.  On at least three of the doctor's visits, digitalis was prescribed.*687  On January 20, 1941, the decedent gave one of his daughters a general power of attorney.  The decedent's health notably failed in the latter part of 1942 and the early part of 1943.  His daughter Alla, with whom the decedent lived, became ill.  She could not give the care that the decedent needed and therefore the decedent was moved to the Los Alamitos Sanatorium 2 months before he died.  The immediate cause of the decedent's death on March 8, 1943, was acute congestive heart failure of one day's duration and bronchopneumonia of 10 days' duration. *227  Senility was listed as an "other condition."Between 1900 and 1916 the decedent gave each of his children a gift which he evaluated at $ 2,400 to $ 2,500.  Elmer received a wagon and team and a half interest in a hardware store where he worked.  An indebtedness of Leman was canceled in 1913.  Bula received a house and lot when she was married.  After 1929, pursuant to his deceased wife's request, the decedent gave each of his children a one-fifth share in a note executed by Landreth Brothers of Wenatchee, Washington.  The principal of the note had been advanced after 1918 or 1919.  The principal and accrued interest thereon amounted to approximately $ 100,000.  Apparently, since the date of the gift $ 10,000 to $ 12,000 has been realized on each one-fifth share.At other times the decedent gave pianos to two of the children and equivalent gifts to the other three.  He gave footstools to each child.  He had also given Chinese coats to the daughters and suits to the sons.The decedent's dominant motive in making the gifts in question was to rid himself of the active management of the property transferred. The transfers were not made in contemplation of death.OPINION.The sole question*228  is whether the value of the transfers of March 3, 1939, should be included in the gross estate of the decedent according to the provisions of section 811 (c) of the Internal Revenue Code.  1*229  The ultimate question to be decided in this case, as in others arising under the quoted statute, is whether the dominant or impelling motive *688  of decedent in making these transfers was associated with death and was prompted by the thought of death.This question is a subjective one.  It concerns the motives and mental processes of a particular human being, in this case one Oliver Johnson, who made the transfers in question more than 10 years before the hearings were held in this proceeding and who died more than 4 years before those hearings.Among the circumstances to be considered and weighed in determining what was the dominant motive of the decedent in making inter vivos transfers of his property, are the following: (a) The age of the decedent at the time the transfers were made; (b) the decedent's health, as he knew it, at or before the time of the transfers; (c) the interval between the transfers and the decedent's death; (d) the amount of the property transferred in proportion to the amount of property retained; (e) the nature and disposition of the decedent, e. g., whether cheerful or gloomy, sanguine or morbid, optimistic or pessimistic; (f) the existence of a*230  general testamentary scheme of which the transfers were a part; (g) the relationship of the donee or donees to the decedent, i. e., whether they were the natural objects of his bounty; (h) the existence of a long established gift-making policy on the part of decedent; (i) the existence of a desire on the part of the decedent to escape the burden of managing property by transferring the property to others; (j) the existence of a desire on the part of the decedent to vicariously enjoy the enjoyment by the donees of the property transferred; and (k) the existence of the desire by the decedent of avoiding estate taxes by means of making inter vivos transfers of property.  This is not a comprehensive list of the circumstances pertinent to the problem of what transfers are made in contemplation of death, but it includes most of the circumstances and considerations pertinent to the instant case.Of these circumstances, some are favorable to respondent's contentions that the transfers were made in contemplation of death, and some are favorable to the position of petitioner that decedent's motives in making the transfers were associated with life rather than with death.Those circumstances*231  which tend to indicate that decedent's motives in making the transfers were associated with death are as follows: (a) The advanced age of decedent when he made the transfers; (b) the amount of the property transferred by decedent in proportion to the amount of property retained by him; and (c) the fact that the donees were all the children of decedent, the natural objects of his bounty and the legatees in his subsequently executed will.The circumstances which tend to indicate that decedent's motives were associated with life are as follows: (a) Decedent's health at *689  or before the time of the transfers was good; (b) decedent's nature and disposition were cheerful, sanguine, and optimistic; (c) there was an interval of four years between the time of the transfers and the time of decedent's death; (d) there was at the time of the transfers no testamentary scheme on the part of decedent, decedent's only will (so far as the record discloses) having been made four months after the transfers; (e) the decedent had over a long period of time made gifts to the same donees and in the same proportions as to each other; and (f) the decedent desired to escape the burdens incident to the*232  management of the properties transferred.The evidence is not compelling as to two pertinent circumstances; viz, the desire of the decedent to derive pleasure from the enjoyment by his children of the property transferred to them, and his desire to save estate taxes by such transfers.  The record as a whole, however, justifies the inference that decedent did derive pleasure from the enjoyment by his children of the property transferred to them, and that decedent was in no way interested in the saving of estate taxes.With regard to the three circumstances which tend to favor respondent's contention, two of them are subject to minimizing qualifications.  While the amount of the property transferred by decedent was large in proportion to the amount retained by him, nevertheless, the amount of property retained was enough in his judgment to support him in the frugal manner of living to which he was accustomed and which he evidently preferred.  While the donees were his children and, as such, the natural objects of his testamentary bounty, they were also for the same reason the natural objects of his donative bounty.With regard to the circumstances tending to favor petitioner's contention, *233  many of them are subject to amplification.  For example, to say that decedent's health was good seems inadequate in view of the testimony concerning his health given by respondent's own witness, a chiropractor who gave treatments to decedent over a period of approximately a month in 1938 or 1939.  He testified that decedent was "wonderfully preserved for a man of his age," that "he didn't look his age by 12 or 15 years," that he was "a jolly old fellow," very alert and very spry, that he was active and carried himself like a young man, that after his treatments "his troubles seemed to be all over," and that he said "he was going to be here a long time." It is impossible to read the record here without concluding that the decedent in 1939 was, and had been, in extraordinarily good health; and, further, that he took an almost childish pride in his health and vigor.The evidence is also most convincing in regard to decedent's desire to escape the burdens incident to the management of the properties transferred. The testimony of decedent's children that he had on *690  several occasions made statements that he did not like the care of rental properties and wished to give them away*234  as soon as he could clear the properties from liens is credible in the light of the facts.  A retired farmer, 85 years old, enjoying his old age in Southern California, who was suddenly faced during the depression years with the necessity of managing a substantial number of rental properties and thus sacrificing his horseshoe pitching and woodwork, would most naturally have a desire to get rid of this unwanted responsibility as soon as he felt it possible for him to do so.  Having gone through the vexing and trying experience of managing a large number of rental properties for some five years, it was natural for him to feel a revulsion against a continued responsibility for any rental property and to add the few rental properties which he had acquired prior to 1932 to the properties which he desired to transfer.  And his decision in 1939 to include in the transfers of properties his farms in Kansas was consistent with a desire to shed responsibilities and concentrate on the pleasure of living.  For a man 90 years of age to prefer to remain in Southern California with his family and his hobbies rather than to go during the summer months to the Kansas wheat country is a decision which*235  would more reasonably result from considerations in regard to a pleasant place for living than from considerations in regard to death.Certain evidence indicates that the children of decedent desired him to make the transfers in question.  It is quite possible that their motives in desiring him to do so were associated with his death and were caused by their contemplation of his death, but their motives are irrelevant unless it is shown that decedent's will was substantially subordinated to theirs.  The record indicates, however, that decedent's will was independently his.Were it not for the decedent's advanced age at the time of the transfers here in issue, we would have little difficulty in concluding that the transfers were not made in contemplation of death.  The one evidentiary circumstance as to which respondent stands on firm ground is that decedent at the time of the transfers was an old man, indeed an unusually old man.It may be that the norm for the consideration of the mind and motives of a man 90 years of age is that of a man weakened by senility and subject to the continual and unmistakable physical intimations of approaching disintegration, with a consequent*236  concentration on the spiritual and material problems posed by death.If that is the norm, then we are convinced by the evidence before us that the decedent was not normal.  The record in this case portrays an old man of far different characteristics.  He was an old man of amazing vigor who enjoyed "showing off" that vigor to his children and friends (frequently to their annoyance).  He was alert and independent, *691  cheerful, and interested in living, and, above all, proud of his vitality and comparative youthfulness.This portrait may not be an accurate likeness of the real Oliver Johnson.  It is possible that the verbal picture of Oliver created at the trial by the testimony of witnesses brought out by the skillful guidance of petitioner's counsel emphasized certain of his features and left others in shadow to the extent that the Oliver Johnson of the verbal portrait has more resemblance to a synthesis of decedents whose transfers had been held in many reported cases to have been made not in contemplation of death than to the real Oliver Johnson who transferred real estate in Southern California on March 3, 1939.  But the judicial process requires that we create our image *237  of Oliver from the material in the record before us.  We can not be certain that our portrait of Oliver is a lifelike replica of the real Oliver, but we are confident that it accurately reflects the portrait of Oliver drawn by the evidence in this record.When old age has brought with it to a decedent the normal results, that is, physical illnesses and mental preoccupation with mortality, old age may be a decisive test in determining whether transfers made by the decedent were prompted by the thought of death.  But where old age has not brought with it to a decedent these normal results, "* * * age in itself can not be regarded as furnishing a decisive test, for sound health and purposes associated with life, rather than death, may motivate the transfer." United States v. Wells, 282 U.S. 102"&gt;282 U.S. 102.To quote again from the Wells case:If it is the thought of death, as a controlling motive prompting the disposition of property, that affords the test, it follows that the statute does not embrace gifts inter vivos which spring from a different motive. * * * As illustrating transfers found to be related to purposes associated with life, rather than with*238  the distribution of property in anticipation of death, the Government mentions transfers made "for the purpose of relieving the donor of the cares of management or in order that his children may experience the responsibilities of business under his guidance and supervision." The illustrations are useful but not exhaustive.  The purposes which may be served by gifts are of great variety.  It is common knowledge that a frequent inducement is not only the desire to be relieved of responsibilities, but to have children, or others who may be the appropriate objects of the donor's bounty, independently established with competencies of their own, without being compelled to await the death of the donor and without particular consideration of that event.  There may be the desire to recognize special needs or exigencies or to discharge moral obligations.  The gratification of such desires may be a more compelling motive than any thought of death.In the instant case we have concluded from all the evidence that in spite of decedent's unusually advanced age the dominant and impelling motive of decedent in making the transfers here involved was *692  not the thought of death, but was the desire*239  to escape the burdens incident to the management of the properties transferred. Therefore our decision on the issue submitted is that the transfers were not made by decedent in contemplation of death.Decision will be entered under Rule 50.  Footnotes1. SEC. 811. GROSS ESTATE.The value of the gross estate of the decedent shall be determined by including the value at the time of his death of all property, real or personal, tangible or intangible, wherever situated, except real property situated outside of the United States --* * * *(c) Transfers in Contemplation of, or Taking Effect at Death.  -- To the extent of any interest therein of which the decedent has at any time made a transfer, by trust or otherwise, in contemplation of or intended to take effect in possession or enjoyment at or after his death, * * * except in case of a bona fide sale for an adequate and full consideration in money or money's worth.  Any transfer of a material part of his property in the nature of a final disposition or distribution thereof, made by the decedent within two years prior to his death without such consideration, shall, unless shown to the contrary, be deemed to have been made in contemplation of death within the meaning of this subchapter.↩